Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 1 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 2 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 3 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 4 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 5 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 6 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 7 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 8 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 9 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 10 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 11 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 12 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 13 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 14 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 15 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 16 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 17 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 18 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 19 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 20 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 21 of 22
Case 1:22-cv-10575-WGY Document 1 Filed 04/14/22 Page 22 of 22
